            CaseApplication
   AO 106A (08/18) 2:24-mj-04170-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    07/12/24
                                                                                    Means           Page 1 of 30 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Central District
                                                     __________ Districtofof
                                                                           California
                                                                             __________

                     In the Matter of the Search of                     )
        A residence located at 130 S Coronado Street, Apt               )
                                                                        )        Case No. 2:24-MJ-04170
                  107, Los Angeles, CA 90057
                                                                        )
                                                                        )
       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-1
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                         Offense Description
          18 U.S.C. §§ 1028A, 1029,                                              See attached affidavit
          1030, 1343, 1344, 1956

             The application is based on these facts:
                   See attached Affidavit
                     Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                     ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                  /s/ Jarred Medenwald
                                                                                                      Applicant’s signature

                                                                                            Jarred Medenwald, USSS Special Agent
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                      Judge’s signature

City and state: Los Angeles, CA                                             Hon. Pedro V. Castillo, U.S. Magistrate Judge
                                                                                                      Printed name and title

AUSA: Joseph De Leon (x7280)
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                            ATTACHMENT A-1

PREMISES TO BE SEARCHED

     The following premises (the “SUBJECT PREMISES”), as

depicted in the photograph below, located at 130 S Coronado St,

Apt 107, Los Angeles, CA 90057: a three-level apartment complex

with a red/brown brick exterior consisting of multiple units.

The front entrance of the unit has “107” affixed to the top of

the door: (a) all rooms inside unit #107; (b) any digital

devices found at the SUBJECT PREMISES; and (c) and any and all

storage units, containers, attachments, attics, safes, carports,

garages, vehicles, outbuildings, and all other areas within the

curtilage.




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                              ATTACHMENT B

         I.   ITEMS TO BE SEIZED

     1.       The items to be seized are evidence of violations of

Title 18, United States Code, 1028A (Aggravated Identity Theft),

1029 (Access Device Fraud), 1030 (Computer Fraud and Abuse),

1343 (Wire Fraud), 1344 (Bank Fraud), and 1956 (Money

Laundering) (the “Subject Offenses”) namely:

              a.   Records and information that tend to show

dominion and control of the SUBJECT PREMISES and SUBJECT

VEHICLE.

              b.   Access devices, EBT card information, records and

information related to any victims or potential victims of

fraud;

              c.   Products and goods suspected to be purchased

using EBT cards for resale, including but not limited to bulk

product known to be purchased by RAMIREZ during the fraud scheme

such as protein powder or Liquid IV;

              d.   U.S. currency over $1,000, receipts from money

services bureaus, money orders, cashier’s checks, prepaid gift

cards, and any other cash equivalent capable of being used in

the laundering/conversion of proceeds of the crime;

              e.   Virtual currency and related records of any kind,

to include: any and all representations of virtual currency

public keys or addresses, whether in electronic or physical

format; any and all representations of virtual currency private

keys, whether in electronic or physical format; any and all

representation of virtual currency wallets or their constitutive


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parts, whether in electronic or physical format, to include

recovery leys which may be used to regenerate a wallet.

          f.    Records and information relating to any bank

accounts, EBT accounts, credit card accounts, debit card

accounts, cryptocurrency accounts, or other financial accounts;

          g.    Records or information relating to obtaining,

possessing, using, or transferring personal and/or financial

information for persons other than RAMIREZ, such as names,

addresses, phone numbers, EBT account numbers, bank account and

other financial institution account numbers, credit and debit

card numbers, Social Security numbers, email addresses, IP

addresses, home addresses, security codes, PIN numbers, and

passwords for financial institutions, telephone providers, or

internet service providers;

          h.    Records and information related to the purchase,

sale, and use of EBT, credit and debit cards;

          i.    Records and information related to the use of, or

access to, the Dark Web or other websites to acquire others’

personal identifying information or means of payment, including

but not limited to, EBT, credit or debit cards numbers, or other

fraud-based activities;

          j.    Records and information related to the storage,

whereabouts, or location where money is being stored, laundered,

or hidden;

          k.    Records and information related to banking,

finance, financial institutions, and any financial transactions,

including wire transfers and the use of cryptocurrency;



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          l.     Information relating to the laundering of funds

obtained from fraud schemes;

          m.     Information in any format pertaining to address

books, contacts, electronic mail, telephone numbers, or account

information, which may relate in relevant part to any personal

information associated with the victims in the present

investigation;

          n.     Information relating to co-conspirators,

including information relating to their identities, whereabouts,

communications, and methods of contact and communication;

          o.     Contents of any calendar or date book stored on

any of the digital devices;

          p.     Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations;

          q.     Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show address book information, including all stored or saved

telephone numbers;

          r.     Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          s.     Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to



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show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations; q.

Records, documents, programs, applications or materials, or

evidence of the absence of same, sufficient to show instant and

social media messages (such as Facebook, Facebook Messenger,

Snapchat, FaceTime, Skype, and WhatsApp), SMS text, email

communications, or other text or written communications sent to

or received from any digital device and which relate to the

above-named violations;

          t.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof;

          u.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, contact information, telephone

records, geospatial information, electronic or digital currency

applications and exchanges, cloud accounts or remote accounts

where an individual might remotely store, save, or preserve

digital information relevant to the scope of this warrant for

purposes of saving that information remotely from the device’s



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local and native memory storage, photographs, and

correspondence;

                  ii.     evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                  iii. evidence of the attachment of other devices;

                  iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate, obfuscate, or

otherwise hide data from the device;

                  v.      evidence of the times the device was used;

                  vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                  vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                  viii.        records of or information about

Internet Protocol addresses to include SIM card information,

International Mobile Equipment Identity Number (IMEI) associated

with the device, any Media Access Control Address (MAC address)

associated with or used by the device;

                  ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,



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search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

      2.   As used herein, the terms “records,” “documents,”

 “programs,” “applications,” and “materials” include records,

 documents, programs, applications, and materials created,

 modified, or stored in any form, including in digital form on

 any digital device and any forensic copies thereof.

      3.   As used herein, the term “digital device” includes any

 electronic system or device capable of storing or processing

 data in digital form, including central processing units;

 desktop, laptop, notebook, and tablet computers; universal

 serial bus (USB) device in any physical format or

 configuration; and digital storage device (SD Card); personal

 digital assistants; wireless communication devices, such as

 telephone paging devices, beepers, mobile telephones, and smart

 phones; digital cameras; gaming consoles (including Sony

 PlayStations and Microsoft Xboxes); peripheral input/output

 devices, such as keyboards, printers, scanners, plotters,

 monitors, and drives intended for removable media; related

 communications devices, such as modems, routers, cables, and

 connections; storage media, such as hard disk drives, floppy

 disks, memory cards, optical disks, and magnetic tapes used to

 store digital data (excluding analog tapes such as VHS); and

 security devices.




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II.   SEARCH PROCEDURE FOR DIGITAL DEVICES

      4.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will

transport the devices to an appropriate law enforcement

laboratory or similar facility to be searched at that location.

The search team shall complete the search as soon as is

practicable but not to exceed 120 days from the date of

execution of the warrant.     The government will not search the

digital devices and/or forensic image(s) thereof beyond this

120-day period without obtaining an extension of time order from

the Court.

           b.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.




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                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit) and Cellebrite and other related forensic software and

hardware related to the forensic acquisition and analysis of

computers, laptops, mobile phones, USB and media card devices,

and other digital devices subject to the scope of this warrant,

which tools may use hashing and other sophisticated techniques.

           c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

           e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data and may

access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the



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other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

      5.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

      6.   In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:




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           a.    Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

      7.   During the execution of this search warrant, law

enforcement is permitted to: (1) depress RAMIREZ’s thumb and/or

fingers onto the fingerprint sensor of the device (only when the

device has such a sensor), and direct which specific finger(s)

and/or thumb(s) shall be depressed; and (2) hold the device in

front of RAMIREZ’s face with his eyes open to activate the

facial-, iris-, or retina-recognition feature, in order to gain



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access to the contents of any such device.         In depressing a

person’s thumb or finger onto a device and in holding a device

in front of a person’s face, law enforcement may not use

excessive force, as defined in Graham v. Connor, 490 U.S. 386

(1989); specifically, law enforcement may use no more than

objectively reasonable force in light of the facts and

circumstances confronting them.

      8.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT

      I, Jarred Medenwald, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

      1.   I am a Special Agent with the United States Secret

Service (“USSS”) and have been so employed since May 2016. I am

currently assigned to the Homeland Security Investigations

(“HSI”) El Camino Real Financial Crimes Taskforce in Los

Angeles, CA.

      2.   In becoming a Special Agent, I have completed criminal

investigative training, including the Criminal Investigator

Training Program at the Federal Law Enforcement Training Center

in Glynco, Georgia, and the USSS Special Agent Training Course

at the James J. Rowley Training Center in Beltsville, Maryland.

I have attended multiple advanced and in-service trainings

regarding the investigation of cyber-enabled financial crimes,

including the Basic Investigation of Computer and Electronic

Crimes, Network Intrusion Triage and Response, and training

regarding money laundering and asset forfeiture.

      3.   During my tenure as a Special Agent with USSS, I have

investigated and arrested numerous individuals for federal

felony offenses including wire fraud, bank fraud, identity

theft, money laundering, and access device fraud, among other

offenses. During these investigations, I have personally

obtained or participated in the execution of several search and

seizure warrants for suspect premises and electronic devices.
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                        II. PURPOSE OF AFFIDAVIT

      4.   This affidavit is made in support of applications to

search the following:

           a.     A residence located at 130 S Coronado Street, Apt

107, Los Angeles, CA 90057, which is known to be Gerardo N

RAMIREZ’s (“RAMIREZ”) primary residence (the “SUBJECT

PREMISES”), as described more fully in Attachment A-1.

           b.     The person of RAMIREZ, as described more fully in

Attachment A-2.

           c.     A 2023 black Mercedes Benz with four doors

bearing California license plate number 9GDK327 and with vehicle

identification number W1KEG2BB8PF014172 (the “SUBJECT VEHICLE”),

as described more fully in Attachment A-3, which is registered

to RAMIREZ at the SUBJECT PREMISES.

      5.   The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of

Title 18, United States Code, Sections 1028A (Aggravated

Identity Theft), 1029 (Access Device Fraud), 1030 (Computer

Fraud and Abuse), 1343 (Wire Fraud), 1344 (Bank Fraud), and 1956

(Money Laundering) (the “Subject Offenses”), as described more

fully in Attachment B.      Attachments A-1, A-2, A-3, and B are

incorporated herein by reference.

      6.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrants



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and does not purport to set forth all of my knowledge of or

investigation into this matter. Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only, and all

dates and times listed are on or about those indicated.

                    III. SUMMARY OF PROBABLE CAUSE

      7.    In or about June 2024, law enforcement learned that

RAMIREZ was involved in the fraudulent use of Electronic Benefit

Transfer (“EBT”) cards to conduct unauthorized purchases of

products from Costco warehouses throughout the Central District

of California.

      8.    According to records from Costco, RAMIREZ has used

approximately 577 unique EBT card numbers to conduct these

unauthorized purchases. From on or about September 29, 2023, to

on or about April 20, 2024, RAMIREZ conducted approximately

$554,827 in apparent unauthorized purchases.

      9.    All of the approximately $554,827 in unauthorized

purchases using victim EBT cards were made using Costco

memberships which list RAMIREZ as the Costco member and provide

a picture of RAMIREZ.

      10.   The approximately 577 unique EBT card numbers used by

RAMIREZ resolve to 11 different states according to the bank

identification number (“BIN”), or the first six digits, of the

EBT card numbers. For example, the EBT card BIN for California

is 507719. Of the approximately 577 unique EBT card numbers used

by RAMIREZ, approximately 244 are California EBT cards. The

remaining EBT cards used by RAMIREZ resolve to Illinois,



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Maryland, Massachusetts, Michigan, Nevada, New Jersey, New

Mexico, New York, North Carolina and Texas.

      11.   RAMIREZ can be seen on surveillance video as recently

as on or about April 20, 2024 at Costco warehouses throughout

the Central District of California making unauthorized purchases

using victim EBT cards. RAMIREZ has also been observed on

surveillance provided by Costco driving the SUBJECT VEHICLE in

the parking lot.

      12.   Most of the unauthorized purchases conducted by

RAMIREZ were for large amounts protein powder and Liquid IV,

which are authorized to be purchased using benefits disbursed to

EBT cards. These benefits are designed to assist low-income

individuals or households in purchasing groceries and other

authorized necessities.

      13.   Based upon my conversations with representatives at

Amazon, I know that RAMIREZ has an Amazon seller account which

has been active since in or about December 2022. Based upon

Wells Fargo records, RAMIREZ has received deposits into his

Wells Fargo bank accounts from Amazon totaling approximately

$599,200.

      14.   Law enforcement learned from the property management

for the SUBJECT PREMISES that RAMIREZ had a large number of

boxes and shipping labels stacked throughout the SUBJECT

PREMISES on or about July 2, 2024.

                    IV. STATEMENT OF PROBABLE CAUSE

      15.   Since in or about June 2024, the USSS and HSI have

been investigating RAMIREZ for the unauthorized use of hundreds



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of victim EBT cards from at least 11 different states at Costco

warehouses throughout the Central District of California.

      16.   Each state administers its own EBT program and sets

qualification standards for individuals and households to apply

for different benefit programs, such as benefits through the

Supplemental Nutrition Assistance Program (“SNAP”). Some states

may refer to SNAP assistance using other program names, such as

California which refers to its food assistance program as

“CalFresh” according to the California Department of Social

Services.

            a.   Benefits disbursed to EBT cardholders are

generally intended to aid individuals or households who meet

certain income criteria, are unemployed, or who otherwise

demonstrate a financial need for assistance.

            b.   Benefits disbursed to EBT cardholders for food

assistance, such as SNAP, are only able to be spent at certain

authorized merchants and on certain food related items. For

example, an authorized use of SNAP benefits disbursed to an EBT

card would be purchasing groceries from a Costco or Walmart, but

you could not purchase electronics or alcohol.

      17.   Based on my training and experience investigating EBT

fraud schemes, I know that suspects involved in the unauthorized

use of stolen EBT card information will sometimes purchase SNAP

eligible items in bulk in order to resell those items, thereby

monetizing the stolen benefits.

      18.   According to records from Costco, beginning on or

about September 29, 2023 and continuing through on or about



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April 20, 2024, RAMIREZ conducted more than approximately 640

purchases at approximately 29 Costco warehouses throughout the

Central District of California.

      19.   According to records from Costco, to conduct these

purchases, RAMIREZ used approximately 577 unique EBT card

numbers from 11 different states including California. Aside

from California, the EBT cards used by RAMIREZ resolve to

(according to the BIN on the EBT cards) Illinois, Maryland,

Massachusetts, Michigan, Nevada, New Jersey, New Mexico, New

York, North Carolina and Texas.

      20.   According to records from Costco, these unauthorized

purchases conducted by RAMIREZ using the approximately 577

unique EBT cards amount to approximately $554,827.

      21.   In order to shop at Costco, individuals must become a

member by providing basic biographical information and paying

for a membership. When you become a Costco member, you are

provided with a membership ID card which displays your photo on

the card.

      22.   According to records from Costco, all of the

unauthorized purchases conducted by RAMIREZ at Costco were made

under five different Costco membership profiles bearing the

membership numbers 111981147589, 111982232727, 111982597768,

111994757867 and 111941012356.

            a.   The photo associated with all five of the Costco

membership profiles is RAMIREZ.




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            b.   All five Costco memberships list Gerardo RAMIREZ

as the member name. Membership number 111941012356 also lists

RAMIREZ's mother as a household member.

            c.   The full address for the SUBJECT PRESMISES is

provided on all but one of the membership profiles, membership

number 111982597768, which lists the same street address but

omits the apartment number.

      23.   While surveillance is not available from Costco for

each and every of the more than 640 purchases conducted by

RAMIREZ, law enforcement has reviewed surveillance for purchases

dating back to on or about March 29, 2024 and determined that

RAMIREZ is the individual conducting all of the unauthorized

purchases for which surveillance has been reviewed.

      24.   For example, law enforcement reviewed surveillance

provided by Costco which shows RAMIREZ conducting four separate

transactions on or about March 29, 2024 totaling approximately

$5,017 at two Costco warehouses in Pacoima, CA and Burbank, CA.

According to surveillance and transaction data, RAMIREZ used a

California EBT card ending in 7453 at four separate checkout

registers to conduct these purchases, which were for large

amounts of protein powder.

      25.   EBT card ending in 7453 belongs to victim J.S. of

Downey, CA, who, when interviewed by law enforcement, confirmed

they did not give RAMIREZ permission to use their EBT card or

authorize the transactions in question at the Costco warehouses

in Pacoima, CA or Burbank, CA.




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      26.    On or about April 9, 2024, according to surveillance

and transaction records from Costco, RAMIREZ used six unique

California EBT cards at four different Costco warehouses

throughout the greater Los Angeles, CA area to conduct

approximately $2,321 in purchases for large amounts of protein

powder.     According to Costco surveillance records, the SUBJECT

VEHICLE was observed on this same date in the parking lot of a

Costco Warehouse in Hawthorne, CA, where RAMIREZ had utilized

three of the six victim EBT cards.

      27.    According to California Department of Motor Vehicle

records, the SUBJECT VEHICLE is registered to RAMIREZ at the

SUBJECT PREMISES.

      28.    One of the six unique EBT cards used by RAMIREZ to

conduct unauthorized purchased on or about April 9, 2024 is an

EBT card ending in 6364.      This EBT card belongs to victim B.M.

of Alhambra, CA who, according to law enforcement database

queries, was reported as deceased in or about June 2024.

      29.    Based on my training and experience conducting access

device fraud investigations, I know that suspects involved in

the unauthorized use of stolen payment card information will

often visit different checkout registers using different payment

cards to avoid using several cards in rapid succession and

drawing unwanted attention to themselves.

      30.    Based on a law enforcement database query, I learned

that RAMIREZ was arrested by the Cypress (CA) Police Department

on or about April 26, 2024. This arrest occurred based upon a

victim complaint regarding fraudulent use of their EBT card and



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a subsequent interview of RAMIREZ by the Cypress Police

Department.

      31.   According to my conversations with officers of the

Cypress Police Department and police reports filed on the victim

complaint and arrest, I know the following:

            a.   On or about April 9, 2024, victim S.H. of

Ontario, CA filed a police report with the Cypress Police

Department indicating that her California EBT card ending in

5189 was used without her knowledge or permission for purchases

totaling approximately $4,700 at a Costco warehouse in Cypress,

CA on April 1, 2024. Victim S.H. did not discover these

unauthorized EBT card transactions until she attempted to buy

groceries on or about April 6, 2024 and her EBT card was

declined.

            b.   Subsequent investigation by the Cypress Police

Department showed that RAMIREZ had conducted the unauthorized

transactions using S.H.’s California EBT card based upon the

Costco membership profile used for the purchases.

            c.   After being contacted by the Cypress Police

Department, RAMIREZ appeared in-person at the Cypress Police

Department station on or about April 26, 2024 to speak with

officers. After being advised of his Miranda rights, RAMIREZ

agreed to speak with officers. RAMIREZ, in sum and substance,

admitted to conducting the unauthorized transactions. RAMIREZ

also stated to officers that it was his first time ever doing

anything like this. RAMIREZ said he obtained the EBT card from




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an unidentified male he met while working for a food delivery

service.

            d.   After admitting to the unauthorized transactions

using S.H.’s EBT card, RAMIREZ was arrested for violations of

California Penal Code sections 484e(d) and 484g(a). RAMIREZ was

later released on bond for this state arrest.

      32.   According to Costco transaction records, RAMIREZ used

E.H.’s California EBT card to purchase approximately $4,697

worth of protein powder and Liquid IV.

      33.   According to records from Wells Fargo, RAMIREZ opened

a checking account ending in 1781 (“the 1781 account”) on or

about July 28, 2022 in RAMIREZ’s name and using the address of

the SUBJECT PREMISES.

      34.   RAMIREZ also opened a business checking account at

Wells Fargo ending in 1254 (“the 1254 account”) on or about

September 9, 2022 under the business name LA Flaming Chicken

LLC, which is owned and operated by RAMIREZ according to the

articles of incorporation from the State of California. LA

Flaming Chicken LLC’s articles of incorporation also list the

SUBJECT PREMISES as the business address.

      35.   Based upon records from Wells Fargo, the 1781 account

and the 1254 account have received approximately $599,200 in

deposits from Amazon from on or about July 26, 2023 through on

or about June 28, 2024. These deposit descriptions into

RAMIREZ’s Wells Fargo accounts appear as either “Instant Pmt

from AMAZON.COM”, or “PAYABILITY EDI PYMNTS”. Payability Inc. is

an Amazon approved third-party software partner which provides



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Amazon sellers with quicker access to their daily funds

generated from Amazon sales.

      36.   Law enforcement has obtained leasing records from the

property management company for the SUBJECT PREMISES. According

to these records, the SUBJECT PREMISES was originally leased by

RAMIREZ’s mother, Magdalena Ramirez, in or about 2009.

      37.   Based upon my conversations with representatives of

the property management company for the SUBJECT PREMISES on or

about July 2, 2024, I know the following:

            a.   RAMIREZ has been the primary occupant of the

SUBJECT PREMISES for the last several months. While property

management has observed RAMIREZ at the SUBJECT PREMISES on a

near daily basis, they have not observed RAMIREZ’s mother at the

SUBJECT PREMISES in the previous few months.

            b.   Property management for the SUBJECT PREMISES

indicated that RAMIREZ drives the SUBJECT VEHICLE but is not

assigned a parking space.

            c.   Property management for the SUBJECT PREMISES has

previously spoken with RAMIREZ because RAMIREZ was piling boxes

in a shared hallway with other tenants.

            d.   On or about July 2, 2024, property management for

the SUBJECT PREMISES conducted a planned unit inspection on

several apartments in the building, including the SUBJECT

PREMISES, because the building is currently in escrow to be sold

to a different owner. During this inspection, the property

management noted that RAMIREZ was the only person present at the

SUBJECT PREMISES and that a large number of boxes and shipping



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labels were stacked throughout the SUBJECT PREMISES. Property

management also noted that, during previous inspections of the

SUBJECT PREMISES, the apartment resembled a messy storage unit

full of boxes.

      38.   Based upon the information obtained by law enforcement

from the property management for the SUBJECT PREMISES, evidence

obtained to date as outlined in this affidavit, and my training

and experience, I believe RAMIREZ is using the SUBJECT PREMISES

to store product obtained through the illicit use of victim EBT

cards. Based upon the presence of a large number of boxes and

shipping labels inside of the SUBJECT PREMISES, RAMIREZ is also

likely transporting the fraudulently obtained products in the

SUBJECT VEHICLE to ship the products RAMIREZ has sold via Amazon

or other sales platforms unknown to law enforcement at this

time.

      39.   Based upon my training, experience, and participation

in this investigation, I also know that RAMIREZ must use

electronic devices, such as a computer or cellular phone, to

list the product he has illicitly obtained for sale on Amazon or

other sales platforms currently unknown to law enforcement.

      40.   While it is presently not known to law enforcement, it

is likely, based on my training and experience, that evidence

obtained from RAMIREZ’s electronic devices may show how RAMIREZ

is obtaining victim EBT card information from 11 different

states to perpetrate the fraud scheme at issue.




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            V. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 1

      41.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

            a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remains on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

            b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,


      1As used herein, the term “digital device” includes any
electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.


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programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

           e.    Based on my training, experience, and information

from those involved in the forensic examination of digital

devices, I know that it is not always possible to search devices

for data during a search of the premises for a number of

reasons, including the following:



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                 i.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

                 ii.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

           f.    The search warrant requests authorization to use

the biometric unlock features of a device, based on the

following, which I know from my training, experience, and review

of publicly available materials:

                 i.    Users may enable a biometric unlock function

on some digital devices.      To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To


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unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

                 ii.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

                 iii. Thus, the warrant I am applying for would

permit law enforcement personnel to, with respect to any device

that appears to have a biometric sensor and falls within the

scope of the warrant: (1) depress RAMIREZ’s thumb and/or fingers

on the device(s); and (2) hold the device(s) in front of

RAMIREZ’s face with his eyes open to activate the facial-, iris-

, and/or retina-recognition feature.

           g.    Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.


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                              VI. CONCLUSION

      42.   For the reasons described above, there is probable

cause to believe that evidence, fruits, and instrumentalities of

the Subject Offenses described in Attachment B will be found in

a search of the SUBJECT PREMISES described in Attachment A-1,

the person described in Attachment A-2, and the SUBJECT VEHICLE

described in Attachment A-3.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
July.



HONORABLE PEDRO V. CASTILLO
UNITED STATES MAGISTRATE JUDGE




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